                          IN THE UNITED STATES BANAKRUPTCY COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

In re:                                       ) Case No. 19‐11069
                                             )
Frank P., Sr. & Mae F. Geistle,              ) Judge Arthur I. Harris
                                             )
                       Debtors.              ) Chapter 7 Case

TO THE CLERK OF THE COURT:

         The concurrent ACH payment in the amount of $14,503.59 represents unclaimed funds
in this estate and is paid to the Court pursuant to 11 U.S.C. §347(a). The name and address of the
party entitled to these unclaimed funds is as follows:

CREDITOR NAME & ADDRESS       CLAIM NO. AMOUNT OF           AMOUNT OF
__________________________________________CLAIM_____________DIVIDEND_________

Frank P. Sr. & Mae F. Geistle        Surplus Funds                         14,503.59
1345 Avalon Drive
Madison, OH 44109


Dated: July 20, 2022                                 /s/ David O. Simon
                                                     David O. Simon, Trustee
                                                     3659 Green Road, Suite 106
                                                     Beachwood, OH 44122‐5715
                                                     (216) 621‐6201
                                                     david@simonlpa.com




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